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REITLER KAILAS & ROSENBLATT LLC
Yann Geron
Brett Van Benthysen
885 Third Avenue, 20th Floor
New York, New York 10022
(212) 209-3050
Attorneys for FLSA Creditors


UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK
-----------------------------------------------------x
In re                                                  :   Chapter 7
                                                       :
NDG Coffee Shop, Inc.,                                 :   Case No. 18-10279-JLG
                                                       :
                                                       :
                                   Debtor.             :
-----------------------------------------------------x

                             NOTICE OF APPEARANCE AND
                      DEMAND FOR NOTICES AND SERVICE OF PAPERS

         PLEASE TAKE NOTICE, that the Jose Wilmer Calle, Severiano Castaneda Rivera,

Hitler Calle, Victor Anibal Ugsha Chugchilan, Pedro Ramirez Lozano, and Marino Casteneda

Rivera (the “FLSA Creditors”), by and through their attorneys, hereby appear in the above-

captioned bankruptcy proceeding, pursuant to Rules 2002, 9007 and 9010(b) of the Rules of

Bankruptcy Procedure and Section 1109(b) of the Bankruptcy Code, and demand that any and all

notices given or required to be given in the above-captioned bankruptcy proceeding and all

papers served or required to be served in the above-captioned bankruptcy proceeding be given to

and served upon the undersigned counsel at the offices, telephone and facsimile numbers set

forth herein.

         PLEASE TAKE FURTHER NOTICE, that pursuant to Section 1109(b) of the

Bankruptcy Code, the foregoing demand includes not only the notices and papers referred to in

the bankruptcy rules specified above, but also includes, without limitation, notices of any
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application, complaint, demand, hearing, motion, petition, pleading, or request, whether formal

or informal, whether written or oral, and whether transmitted or conveyed by mail, delivery,

telephone, telegraph, telecopier, telex, e-mail, or otherwise.

Dated: New York, New York                     REITLER KAILAS & ROSENBLATT LLC
       February 12, 2018                      Attorneys for Jose Wilmer Calle, Severiano
                                                 Castaneda Rivera, Hitler Calle, Victor Anibal
                                                 Ugsha Chugchilan, Pedro Ramirez Lozano, and
                                                 Marino Casteneda Rivera


                                              By: s/ Yann Geron
                                                  Yann Geron
                                                  Brett Van Benthysen
                                                  885 Third Avenue, 20th Floor
                                                  New York, New York 10022
                                                  Ph: (212) 209-3050
                                                  Fax: (212) 371-5500
                                                  ygeron@reitlerlaw.com
                                                  bvanbenthysen@reitlerlaw.com
